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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

JENNIFER HARRIS,                                     §
                                                     §
        Plaintiffs,                                  §
                                                     §
vs.                                                  §      Civil Action 4:19-cv-638
                                                     §
FEDEX CORPORATE SERVICES, INC.,                      §      JURY DEMANDED
                                                     §
        Defendants.                                  §

   PLAINTIFF’S PROPOSED JURY CHARGE AND INSTRUCTIONS

TO THE HONORABLE KENNETH M. HOYT:

        Plaintiff Jennifer Harris submits this proposed jury charge with

instructions, definitions, and interrogatories.




                                                         Respectfully submitted,


                                                         /s/ Brian P. Sanford
                                                           Brian P. Sanford
                                                           Texas Bar No. 17630700
                                                           bsanford@sanfordfirm.com
                                                           Elizabeth “BB” Sanford
                                                           Texas Bar No. 24100618
                                                           esanford@sanfordfirm.com

                                                         THE SANFORD FIRM
                                                         1910 Pacific Ave., Suite 15400
                                                         Dallas, TX 75201
                                                         Ph: (214) 717-6653

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                                                       Fax: (214) 919-0113

                                                       ATTORNEYS FOR PLAINTIFF
                                                       JENNIFER HARRIS



                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2022, I electronically served the
foregoing document on all counsel of record via the Court’s electronic filing system.


                                                        /s/ Brian P. Sanford




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INSTRUCTION NO. 1: PRELIMINARY INSTRUCTIONS

MEMBERS OF THE JURY:

       You have now been sworn as the jury to try this case. As the judge, I will
decide all questions of law and procedure. As the jury, you are the judges of the
facts. At the end of the trial, I will instruct you on the rules of law that you must
apply to the facts as you find them.

       You may take notes during the trial. Do not allow your note-taking to distract
you from listening to the testimony. Your notes are an aid to your memory. If your
memory should later be different from your notes, you should rely on your memory.
Do not be unduly influenced by the notes of other jurors. A juror's notes are not
entitled to any greater weight than each juror's recollection of the testimony.

       Until this trial is over, do not discuss this case with anyone and do not permit
anyone to discuss this case in your presence. This includes your spouse, children,
relatives, friends, coworkers, and people with whom you commute to court each day.
During your jury service, you must not communicate any information about this
case by any means, by conversation or with the tools of technology. For example, do
not talk face-to-face or use any electronic device or media, such as the telephone, a
cell or smart phone, camera, recording device, Blackberry, PDA, computer, the
Internet, any Internet service, any text or instant messaging service, any Internet
chat room, blog, or website such as Facebook, MySpace, YouTube, or Twitter, or any
other way to communicate to anyone any information about this case until I accept
your verdict or excuse you as a juror.

      Do not even discuss the case with the other jurors until the end of the case
when you retire to deliberate. It is unfair to discuss the case before all of the
evidence is in, because you may become an advocate for one side or the other. The
parties, the witnesses, the attorneys, and persons associated with the case are not
allowed to communicate with you. And you may not speak with anyone else in or
around the courthouse other than your fellow jurors or court personnel.

       Do not make any independent investigation of this case. You must rely solely
on what you see and hear in this courtroom. Do not try to learn anything about the
case from any other source. In particular, you may not use any electronic device or
media, such as a telephone, cell phone, smartphone, or computer to research any
issue touching on this case. Do not go online or read any newspaper account of this
trial or listen to any radio or television newscast about it. Do not visit or view any
place discussed in this case and do not use Internet programs or other devices to


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search for or to view any place discussed in the testimony. In sum, you may not
research any information about this case, the law, or the people involved, including
the parties, the witnesses, the lawyers, or the judge, until after you have been
excused as jurors.

       There are some issues of law or procedure that I must decide that the
attorneys and I must discuss. These issues are not part of what you must decide
and they are not properly discussed in your presence. To avoid having you leave the
courtroom and to save time, I may discuss these issues with the attorneys at the
bench, out of your hearing. When I confer with the attorneys at the bench, please do
not listen to what we are discussing. If the discussions require more time, I may
have you leave the courtroom until the lawyers and I resolve the issues. I will try to
keep these interruptions as few and as brief as possible.

       The trial will now begin. Lawyers for each side will make an opening
statement. Opening statements are intended to assist you in understanding the
significance of the evidence that will be presented. The opening statements are not
evidence.

       After the opening statements, the plaintiff will present her case through
witness testimony and documentary or other evidence. Next, the defendant will
have an opportunity to present its case. The plaintiff may then present rebuttal
evidence. After all the evidence is introduced, I will instruct you on the law that
applies to this case. The lawyers will then make closing arguments. Closing
arguments are not evidence, but rather the attorneys' interpretations of what the
evidence has shown or not shown. Finally, you will go into the jury room to
deliberate to reach a verdict.

      Keep an open mind during the entire trial. Do not decide the case until you
have heard all of the evidence, my instructions, and the closing arguments.

        It is now time for the opening statements.

Source:          U.S. FIFTH CIRCUIT DISTRICT COURT JUDGES ASSOCIATION, PATTERN
                 JURY INSTRUCTIONS (Civil Cases) (2014) § 1.2, Preliminary Instructions

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________
                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE

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INSTRUCTION NO. 2: GENERAL INSTRUCTIONS FOR CHARGE

MEMBERS OF THE JURY:

It is my duty and responsibility to instruct you on the law you are to apply in this
case. The law contained in these instructions is the only law you may follow. It is
your duty to follow what I instruct you the law is, regardless of any opinion that you
might have as to what the law ought to be.

If I have given you the impression during the trial that I favor either party, you
must disregard that impression. If I have given you the impression during the trial
that I have an opinion about the facts of this case, you must disregard that
impression. You are the sole judges of the facts of this case. Other than my
instructions to you on the law, you should disregard anything I may have said or
done during the trial in arriving at your verdict.

You should consider all of the instructions about the law as a whole and regard each
instruction in light of the others, without isolating a particular statement or
paragraph.

The testimony of the witnesses and other exhibits introduced by the parties
constitute the evidence. The statements of counsel are not evidence; they are only
arguments. It is important for you to distinguish between the arguments of counsel
and the evidence on which those arguments rest. What the lawyers say or do is not
evidence. You may, however, consider their arguments in light of the evidence that
has been admitted and determine whether the evidence admitted in this trial
supports the arguments. You must determine the facts from all the testimony that
you have heard and the other evidence submitted. You are the judges of the facts,
but in finding those facts, you must apply the law as I instruct you.

You are required by law to decide the case in a fair, impartial, and unbiased
manner, based entirely on the law and on the evidence presented to you in the
courtroom. You may not be influenced by passion, prejudice, or sympathy you might
have for the plaintiff or the defendant in arriving at your verdict.

Do not let bias, prejudice or sympathy play any part in your deliberations. All
persons, including corporations, are equal before the law and must be treated as
equals in a court of justice.

The fact that a person brought a lawsuit and is in court seeking damages creates no
inference that the person is entitled to a judgment. Anyone may make a claim and

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file a lawsuit. The act of making claim in a lawsuit, by itself, does not in any way
tend to establish that claim and is not evidence

Plaintiff Jennifer Harris has the burden of proving her case by a preponderance of
the evidence. To establish by a preponderance of the evidence means to prove
something is more likely so than not so. If you find that Plaintiff Jennifer Harris
has failed to prove any element of her claim by a preponderance of the evidence,
then she may not recover on that claim.

The evidence you are to consider consists of the testimony of the witnesses, the
documents and other exhibits admitted into evidence, and any fair inferences and
reasonable conclusions you can draw from the facts and circumstances that have
been proven.

Generally speaking, there are two types of evidence. One is direct evidence, such as
testimony of an eyewitness. The other is indirect or circumstantial evidence.
Circumstantial evidence is evidence that proves a fact from which you can logically
conclude another fact exists. As a general rule, the law makes no distinction
between direct and circumstantial evidence, but simply requires that you find the
facts from a preponderance of all the evidence, both direct and circumstantial.

You alone are to determine the questions of credibility or truthfulness of the
witnesses. In weighing the testimony of the witnesses, you may consider the
witness’s manner and demeanor on the witness stand, any feelings or interest in the
case, or any prejudice or bias about the case, that he or she may have, and the
consistency or inconsistency of his or her testimony considered in the light of the
circumstances. Has the witness been contradicted by other credible evidence? Has
he or she made statements at other times and places contrary to those made here on
the witness stand? You must give the testimony of each witness the credibility that
you think it deserves.

In determining the weight to give to the testimony of a witness, consider whether
there was evidence that at some other time the witness said or did something, or
failed to say or do something, that was different from the testimony given at the
trial.

A simple mistake by a witness does not necessarily mean that the witness did not
tell the truth as he or she remembers it. People may forget some things or
remember other things inaccurately. If a witness made a misstatement, consider
whether that misstatement was an intentional falsehood or simply an innocent


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mistake. The significance of that may depend on whether it has to do with an
important fact or with only an unimportant detail.

Even though a witness may be a party to the action and therefore interested in its
outcome, the testimony may be accepted if it is not contradicted by direct evidence
or by any inference that may be drawn from the evidence, if you believe the
testimony.

You are not to decide this case by counting the number of witnesses who have
testified on the opposing sides. Witness testimony is weighed; witnesses are not
counted. The test is not the relative number of witnesses, but the relative
convincing force of the evidence. The testimony of a single witness is sufficient to
prove any fact, even if a greater number of witnesses testified to the contrary, if
after considering all of the other evidence, you believe that witness.

When knowledge of technical subject matter may be helpful to the jury, a person
who has special training or experience in that technical field is permitted to state
his or her opinion on those technical matters. However, you are not required to
accept that opinion. As with any other witness, it is up to you to decide whether to
rely on it.

It is now your duty to deliberate and to consult with one another in an effort to
reach a verdict. Each of you must decide the case for yourself, but only after an
impartial consideration of the evidence with your fellow jurors. During your
deliberations, do not hesitate to reexamine your own opinions and change your
mind if you are convinced that you were wrong. But do not give up on your honest
beliefs because the other jurors think differently, or just to finish the case.

Remember at all times, you are the judges of the facts. You have been allowed to
take notes during this trial. Any notes that you took during this trial are only aids
to memory. If your memory differs from your notes, you should rely on your memory
and not on the notes. The notes are not evidence. If you did not take notes, rely on
your independent recollection of the evidence and do not be unduly influenced by
the notes of other jurors. Notes are not entitled to greater weight than the
recollection or impression of each juror about the testimony.

When you go into the jury room to deliberate, you may take with you a copy of this
charge, the exhibits that I have admitted into evidence, [and your notes.] You must
select a presiding juror to guide you in your deliberations and to speak for you here
in the courtroom.


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Your verdict must be unanimous. After you have reached a unanimous verdict, your
presiding juror must fill out the answers to the written questions on the verdict
form and sign and date it. After you have concluded your service and I have
discharged the jury, you may but are not required to talk with anyone about the
case.

If you need to communicate with me during your deliberations, the presiding juror
should write the inquiry and give it to the court security officer. After consulting
with the attorneys, I will respond either in writing or by meeting with you in the
courtroom. Keep in mind, however, that you must never disclose to anyone, not even
to me, your numerical division on any question. You may now proceed to the jury
room to begin your deliberations.

Source: Fifth Circuit Pattern Jury Instructions (Civil Cases) No. 3.1, 2.16, 3.6, 3.2,
3.3, 3.4, 2.11, 3.7 (2014).

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________
                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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INSTRUCTION NO. 3: BURDEN OF PROOF: PREPONDERANCE OF THE
EVIDENCE

      Plaintiff has the burden of proving her case by a preponderance of the
evidence. To establish by a preponderance of the evidence means to prove
something is more likely so than not so. If you find that Plaintiff has failed to prove
any element of her claim by a preponderance of the evidence, then she may not
recover on that claim.


Source:          U.S. FIFTH CIRCUIT DISTRICT COURT JUDGES ASSOCIATION, PATTERN
                 JURY INSTRUCTIONS (Civil Cases) (2014) § 3.2, Burden of Proof:
                 Preponderance of the Evidence

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________
                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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INSTRUCTION NO. 4: CIRCUMSTANTIAL EVIDENCE

     Plaintiff Jennifer Harris is not required to produce direct evidence of
unlawful motive. There will seldom be eye-witness testimony to the employer’s
mental processes. Discrimination, if it exists, is seldom admitted, but is a fact which
you may infer from the existence of other facts.

        Plaintiff’s citation of authorities: United States Postal Serv. Bd. of Governors
        v. Aikens, 460 U.S. 711, 716 (1983); Williams v. Valentec Kisco, Inc., 964 F.2d
        723, 731 (8th Cir. 1992) (Affirming instruction plaintiff was not required to
        produce direct evidence of unlawful motive, and that intentional
        discrimination is seldom admitted but may be inferred from the existence of
        other facts); Matthews v. Commonwealth Edison Co., 93 C 4140, 1995 WL
        478820, at *3 (N.D. Ill. Mar. 24, 1995) (Plaintiff is entitled to have an
        instruction which read “In addition, James E. Matthews is not required to
        produce direct evidence of unlawful motive. Intentional discrimination, if it
        exists, is seldom admitted, but is a fact which you may infer from the
        existence of other facts.”).


Approved __________ Disapproved _________ As Modified __________

                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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INSTRUCTION NO. 5: PARALLEL THEORIES ON DAMAGES

       In answering questions about damages, answer each question separately. Do
not increase or reduce the amount in one answer because of your answer to any
other question about damages. Do not speculate about what any party’s ultimate
recovery may or may not be. Any recovery will be determined by the court when it
applies the law to your answers at the time of judgment.


        Source: Tex. PJC 100.12 (2018).


Approved __________ Disapproved _________ As Modified __________


                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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INSTRUCTION NO. 6: RACE DISCRIMINATION § 1981

      Plaintiff’s claim for recovery under Section 1981 is based upon a federal
statute, which provides that all persons within the United States shall have the
same right to make and enforce contracts and to the full and equal benefit of all
laws as is enjoyed by white citizens. This law entitles a person of color to equal
opportunity and treatment in employment. Thus, when an employer acts adversely
against a person of color because of that person’s race, the law has been violated
and the person of color may file suit and recover damages.

To recover on her claim against Defendant, Plaintiff must prove the following
elements by a preponderance of the evidence:

       1. Defendant intentionally discriminated against Plaintiff; and

       2. as a direct result of such discrimination, Plaintiff sustained damages.

Source:          42 U.S.C. § 1981

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________
                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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QUESTION NO. 1

        Has Plaintiff Jennifer Harris proved that Defendant FedEx intentionally
        discriminated against Plaintiff Jennifer Harris because of her race?

        Answer “Yes” or “No.”


        ———————————

Source:          42 U.S.C. § 1981; U.S. FIFTH CIRCUIT DISTRICT COURT JUDGES
                 ASSOCIATION, PATTERN JURY INSTRUCTIONS (Civil Cases) (2020) § 11.1,
                 Title VII—Discrimination

GIVEN:             __________
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                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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INSTRUCTION NO. 7: RACE DISCRIMINATION TITLE VII

       Plaintiff Jennifer Harris’s claims that she would not have been terminated
but for her race.

      The employer, Defendant FedEx, denies Plaintiff Jennifer Harris’s claims,
and contends that she was fired for performance reasons.

      It is unlawful for an employer to discriminate against an employee because of
the employee’s race. An employer may, however terminate an employee for other
reasons, good or bad, fair or unfair.

      To prove unlawful discrimination, Plaintiff Jennifer Harris must prove by a
preponderance of the evidence that:

       1. Defendant FedEx terminated Plaintiff Jennifer Harris; and

       2. Defendant FedEx would not have terminated Plaintiff Jennifer Harris in
       the absence of—in other words, but for—her race.

      Plaintiff does not have to prove that unlawful discrimination was the only
reason Defendant FedEx terminated her. But Plaintiff Jennifer Harris must prove
that Defendant FedEx’s decision to terminate her would not have occurred in the
absence of such discrimination.

     If you find that the reason Defendant FedEx has given for terminating is
unworthy of belief, you may, but are not required to, infer that Defendant FedEx
was motivated by Plaintiff Jennifer Harris’s race.

Source:          Title VII (42 U.S.C. § 2000e-2); U.S. FIFTH CIRCUIT DISTRICT COURT
                 JUDGES ASSOCIATION, PATTERN JURY INSTRUCTIONS (Civil Cases) (2020)
                 § 11.1, Title VII—Discrimination

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________
                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE



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QUESTION NO. 2

        Has Plaintiff Jennifer Harris proved that she would not have been
        terminated in the absence of—in other words, but for her race?

        Answer “Yes” or “No.”


        ———————————

Source:          U.S. FIFTH CIRCUIT DISTRICT COURT JUDGES ASSOCIATION, PATTERN
                 JURY INSTRUCTIONS (Civil Cases) (2020) § 11.1, Title VII—
                 Discrimination

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________
                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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INSTRUCTION NO. 8: RETALIATION § 1981 AND TITLE VII

      Plaintiff Jennifer Harris claims that she was retaliated against by Defendant
FedEx for engaging in activity protected by Section 1981 and Title VII. Plaintiff
Jennifer Harris claims that she reported and opposed race discrimination. Plaintiff
Jennifer Harris claims that Defendant FedEx retaliated against her by terminating
her employment.

       Defendant FedEx denies Plaintiff Jennifer Harris’s claims and contends that
its actions were at all times proper and that it terminated her because of
performance issues.

       It is unlawful for an employer to retaliate against an employee for engaging
in activity protected by Section 1981 and Title VII. To prove unlawful retaliation,
Plaintiff Jennifer Harris must prove by a preponderance of the evidence that:

    1. Plaintiff Jennifer Harris engaged in reporting or opposing race
       discrimination;

    2. Defendant FedEx terminated her employment; and

    3. Defendant FedEx’s decision to terminate Plaintiff Jennifer Harris’s
       employment was on account off her protected activity.

      You need not find that the only reason for Defendant FedEx’s decision was
Plaintiff Jennifer Harris’s in reporting or opposing race discrimination. But you
must find that Defendant FedEx’s decision to terminate Plaintiff Jennifer Harris’s
employment would not have occurred in the absence of - but for - reporting or
opposing race discrimination.

      If you disbelieve the reason Defendant FedEx has given for its decision, you
may, but are not required to, infer that Defendant FedEx would not have decided to
terminate Plaintiff Jennifer Harris’s employment but for her engaging in the
protected activity.




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Source:          42 U.S.C. § 1981; U.S. FIFTH CIRCUIT DISTRICT COURT JUDGES
                 ASSOCIATION, PATTERN JURY INSTRUCTIONS (Civil Cases) (2020) § 11.4,
                 Title VII—Discrimination

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________
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                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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QUESTION NO. 3

        Do you find that Plaintiff Jennifer Harris would not have had her
        employment terminated but for reporting or opposing race discrimination?

        Answer “Yes” or “No.”


        ———————————

Source:          42 U.S.C. § 1981; U.S. FIFTH CIRCUIT DISTRICT COURT JUDGES
                 ASSOCIATION, PATTERN JURY INSTRUCTIONS (Civil Cases) (2020) § 11.5,
                 Title VII—Retaliation

GIVEN:             __________
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DENIED:            __________
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                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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INSTRUCTION NO. 9: DAMAGES

      If you found that Defendant FedEx violated Section 1981, then you must
determine whether it has caused Plaintiff Jennifer Harris’s damages and, if so,
you must determine the amount of those damages. You should not conclude
from the fact that I am instructing you on damages that I have any opinion as to
whether Plaintiff Jennifer Harris has proved liability.

       Plaintiff Jennifer Harris must prove her damages by a preponderance of
the evidence. Your award must be based on evidence and not on speculation or
guesswork. On the other hand, Plaintiff Jennifer Harris need not prove the
amount of her losses with mathematical precision, but only with as much
definitiveness and accuracy as the circumstances permit.

       You should consider the following elements of actual damages, and no
others: (1) the amount of back pay and benefits Plaintiff Jennifer Harris would
have earned in her employment with Defendant FedEx if her employment had not
been terminated from date of adverse employment action to the date of your
verdict, minus the amount of earnings and benefits that Plaintiff Jennifer Harris
received from employment during that time; (2) the amount of other damages
sustained by Plaintiff s Jennifer Harris supported by the evidence, such as pain,
suffering, inconvenience, mental anguish, loss of enjoyment of life, and other
noneconomic losses.

      Back pay includes the amounts the evidence shows Plaintiff Jennifer
Harris would have earned had she remained an employee of Defendant
FedEx. These amounts include wages or salary and such benefits as life and
health insurance, stock options, and contributions to retirement. You must
subtract the amounts of earnings and benefits Defendant FedEx proves by a
preponderance of the evidence Plaintiff Jennifer Harris received during the period
in question.

      There is no exact standard for determining actual damages. You are to
determine an amount that will fairly compensate Plaintiff Jennifer Harris for
the harm she has sustained. Do not include as actual damages interest on wages or
benefits.

      In addition to actual damages, you may consider whether to award
punitive damages. Punitive damages are damages designed to punish a defendant
and to deter similar conduct in the future.

        You may award punitive damages if Plaintiff Jennifer Harris proves

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by a preponderance of the evidence that:

               (1)       the individual, Michelle Lamb, who engaged in the
                     discriminatory act or practice was acting in a
                     managerial capacity;

               (2)       she engaged in the discriminatory act or practice
                     while acting in the scope of her employment; and

               (3)       she acted with malice or reckless indifference to
                     Plaintiff’s federally protected right to be free from
                     discrimination.

       If Plaintiff Jennifer Harris has proved these facts, then you may award
punitive damages, unless Defendant FedEx proves by a preponderance of the
evidence that the conduct or act was contrary to its good-faith efforts to prevent
discrimination in the workplace.

      In determining whether Michelle Lamb was a supervisor or manager for
Defendant, you should consider the type of authority [employee's name] had over
Plaintiff Jennifer Harris and the type of authority for employment decisions
Defendant FedEx authorized [employee name] to make.

      An action is in “reckless indifference to Plaintiff Jennifer Harris’s
federally protected rights if it was taken in the face of a perceived risk that the
conduct would violate federal law. Plaintiff Jennifer Harris is not required to
show egregious or outrageous discrimination to recover punitive damages. Proof
that Defendant FedEx engaged in intentional discrimination, however, is not
enough in itself to justify an award of punitive damages.

       In determining whether Defendant FedEx made good-faith effort to
prevent discrimination in the workplace, you may consider whether it adopted
anti- discrimination policies, whether it educated its employees on the federal
antidiscrimination laws, how it responded to Plaintiff Jennifer Harris’s
complaint of discrimination, and how it responded to other complaints of
discrimination.

      If you find that Defendant FedEx acted with malice or reckless indifference to
Plaintiff Jennifer Harris’s rights and did not make a good-faith effort to comply
with the law, then in addition to any other damages you find Plaintiff Jennifer
Harris is entitled to receive, you may, but are not required to, award
Plaintiff Jennifer Harris an additional amount as punitive damages for the

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purposes of punishing the Defendant F edEx for engaging in such wrongful
conduct and deterring Defendant FedEx and others from engaging in such conduct
in the future. You should presume that Plaintiff Jennifer Harris has been made
whole for her injuries by any actual damages you have awarded.

       If you decide to award punitive damages, you should consider the
following in deciding the amount:

                    1.    How reprehensible Defendant FedEx’s conduct was.
                          You may consider whether the harm Plaintiff
                          Jennifer Harris suffered was physical or
                          economic or both; whether there was violence,
                          intentional malice, or reckless disregard for human
                          health or safety; whether Defendant FedEx’s
                          conduct that harmed Plaintiff Jennifer Harris also
                          posed a risk of harm to others; whether there
                          was any repetition of the wrongful conduct or
                          there was past conduct of the same sort that harmed
                          Plaintiff Jennifer Harris.

                    2.    How much harm Defendant FedEx’s wrongful
                          conduct caused Plaintiff Jennifer Harris and
                          could cause her in the future.

                    3. What amount of punitive damages, in addition to
                       the other damages already awarded, is needed,
                       considering Defendant FedEx’s financial condition,
                       to punish Defendant F edEx for its conduct toward
                       Plaintiff Jennifer Harris and to deter Defendant
                       FedEx and others from similar wrongful conduct
                       in the future.
                    4.    The amount of fines and civil penalties
                          applicable to similar conduct.

       The amount of any punitive damages award should bear a reasonable
relationship to the harm caused Plaintiff Jennifer Harris.

      You may assess punitive damages against any, or all, of the
defendants, or you may refuse to impose punitive damages. If punitive
damages are imposed on more than one defendant, the amounts for each may
be the same or they may be different.


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Source: Fifth Circuit Pattern Jury Instructions (Civil Cases) No. 11.14 (2020);
Halliburton, Inc. v. Admin. Review Bd., 771 F.3d 254, 266 (5th Cir. 2014) (including
emotional distress and reputational harm).

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________


                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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QUESTION NO. 4:
What sum of money, if paid now in cash, would fairly and reasonably
compensate Plaintiff Jennifer Harris for the damages, if any, you have found
Defendant FedEx caused Plaintiff Jennifer Harris?

Answer in dollars and cents for the following items and none other:

                    1. Past pain and suffering, inconvenience, mental anguish, and
                       loss of enjoyment of life.

                    $__________________

                     2. Future pain and suffering, inconvenience, mental anguish, and
                        loss of enjoyment of life.

                    $__________________

                    3. Wages and benefits from January 7, 2020, to the present.

                    $__________________


Source:          U.S. FIFTH CIRCUIT DISTRICT COURT JUDGES ASSOCIATION, PATTERN
                 JURY INSTRUCTIONS (Civil Cases) (2014), § 11.14 (Title VII and ADA
                 Damages)

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________

                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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QUESTION NO. 5:


Do you find that Plaintiff Jennifer Harris should be awarded punitive damages?

                    Answer “Yes” or “No.”

                    ———————————

        If you answered “Yes” to Question No. 5, then answer Question No. 6.
        If you answered “No” to Question No. 5, then continue to Instruction No. ___.




Source:          U.S. FIFTH CIRCUIT DISTRICT COURT JUDGES ASSOCIATION, PATTERN
                 JURY INSTRUCTIONS (Civil Cases) (2014), § 11.14 (Title VII and ADA
                 Damages)

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________



                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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QUESTION NO. 5:


What sum of money should be assessed against Defendant FedEx as punitive
damages?

                    Answer in dollars and cents:

                    $———————————




Source:          U.S. FIFTH CIRCUIT DISTRICT COURT JUDGES ASSOCIATION, PATTERN
                 JURY INSTRUCTIONS (Civil Cases) (2020), § 11.14 (Title VII and ADA
                 Damages)

GIVEN:             __________
GIVEN AS MODIFIED: __________
DENIED:            __________




                                                       _______________________________
                                                             KENNETH M. HOYT
                                                       UNITED STATES DISTRICT JUDGE




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                                          Presiding Juror:

                1.    When you go into the jury room to answer the questions, the
        first thing you will need to do is choose a presiding juror.

                 2.      The presiding juror has these duties:

                         a.       have the complete charge read aloud if it will be helpful to
                                  your deliberations;

                         b.       preside over your deliberations, meaning manage the
                                  discussions, and see that you follow these instructions;

                         c.       give written questions or comments to the bailiff who will
                                  give them to the judge;

                         d.       write down the answers you agree on;

                         e.       get the signatures for the verdict certificate; and

                         f.       notify the bailiff that you have reached a verdict.

     Do you understand the duties of the presiding juror? If you do not, please tell
me now.


                                        Jury Deliberations:

       It is now your duty to deliberate and to consult with one another in an effort
to reach a verdict. Each of you must decide the case for yourself, but only after an
impartial consideration of the evidence with your fellow jurors. During your
deliberations, do not hesitate to re-examine your own opinions and change your
mind if you are convinced that you were wrong. But do not give up on your honest
beliefs because the other jurors think differently, or just to finish the case.

       Remember at all times, you are the judges of the facts. When you go into the
jury room to deliberate, you may take with you a copy of this charge, and the
exhibits that I have admitted into evidence. You must select a presiding juror to
guide you in your deliberations and to speak for you here in the courtroom.




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      Your verdict must be unanimous. After you have reached a unanimous
verdict, your presiding juror must fill out the answers to the written questions on
the verdict form and sign and date it. After you have concluded your service and I
have discharged the jury, you are not required to talk with anyone about the case.

       If you need to communicate with me during your deliberations, the presiding
juror should write the inquiry and give it to the court security officer. After
consulting with the attorneys, I will respond either in writing or by meeting with
you in the courtroom. Keep in mind, however, that you must never disclose to
anyone, not even to me, your numerical division on any question.

        You may now proceed to the jury room to begin your deliberations.

____________________________
Judge Presiding

____________________________
Date




                                         Jury Certification:


The foregoing answers are the unanimous answers of the jury.


____________________________
Presiding Juror

____________________________
Date




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